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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 17 B 04524
         L'Quita M Alexander

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 02/16/2017.

         2) The plan was confirmed on 05/24/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Completed on 05/11/2018.

         6) Number of months from filing to last payment: 15.

         7) Number of months case was pending: 19.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $3,461.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                 $60,880.25
           Less amount refunded to debtor                           $10,879.59

 NET RECEIPTS:                                                                                        $50,000.66


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                      $3,900.00
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                            $2,228.90
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $6,128.90

 Attorney fees paid and disclosed by debtor:                       $100.00


 Scheduled Creditors:
 Creditor                                            Claim         Claim            Claim       Principal       Int.
 Name                                      Class   Scheduled      Asserted         Allowed        Paid         Paid
 Braces by Barnes                      Unsecured      1,775.00            NA              NA            0.00        0.00
 Capital One Bank                      Unsecured      2,182.00       2,182.92        2,182.92      2,182.92         0.00
 Capital One Bank                      Unsecured      1,260.00       1,260.80        1,260.80      1,260.80         0.00
 Certified Services Inc                Unsecured          46.00           NA              NA            0.00        0.00
 Department Of Education               Unsecured     89,397.00     91,009.78        91,009.78           0.00        0.00
 Edc/nautilus Property                 Unsecured         990.00           NA              NA            0.00        0.00
 Financial Recovery Services, Inc      Unsecured           0.00           NA              NA            0.00        0.00
 Internal Revenue Service              Priority            0.00      3,033.46        3,033.46      3,033.46         0.00
 Internal Revenue Service              Unsecured      6,000.00       2,148.61        2,148.61      2,148.61         0.00
 Kay Jewelers                          Secured        1,000.00           0.00          500.00        500.00         0.00
 Midland Funding LLC                   Unsecured         358.00        358.47          358.47        358.47         0.00
 Nissan Motor Acceptance Corporation   Secured       32,060.00     32,302.47        19,550.00     19,550.00    1,093.78
 Nissan Motor Acceptance Corporation   Unsecured            NA     12,752.47        12,752.47     12,752.47         0.00
 Portfolio Recovery Ass                Unsecured         462.00           NA              NA            0.00        0.00
 Proactiv                              Unsecured         131.00           NA              NA            0.00        0.00
 Quantum3 Group                        Unsecured           0.00        415.12          415.12        415.12         0.00
 Quest Diagnostics                     Unsecured          57.00           NA              NA            0.00        0.00
 TD Bank USA NA                        Unsecured         576.00        576.13          576.13        576.13         0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal            Interest
                                                            Allowed               Paid                Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00               $0.00
       Mortgage Arrearage                                     $0.00              $0.00               $0.00
       Debt Secured by Vehicle                           $19,550.00         $19,550.00           $1,093.78
       All Other Secured                                    $500.00            $500.00               $0.00
 TOTAL SECURED:                                          $20,050.00         $20,050.00           $1,093.78

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                $3,033.46          $3,033.46              $0.00
 TOTAL PRIORITY:                                          $3,033.46          $3,033.46              $0.00

 GENERAL UNSECURED PAYMENTS:                            $110,704.30         $19,694.52              $0.00


 Disbursements:

         Expenses of Administration                             $6,128.90
         Disbursements to Creditors                            $43,871.76

 TOTAL DISBURSEMENTS :                                                                     $50,000.66


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 09/24/2018                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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